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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

LEBAMOFF ENTERPRISES, INC. d/b/a CAP ‘N           )
CORK, RANDY LEWANDOWSKI, and LUTHER               )
STRODER,                                          )
      Plaintiff,                                  )     1:09-cv-744-JMS-TAB
                                                  )
       vs.                                        )
                                                  )
P. THOMAS SNOW, IN HIS OFFICIAL CAPACITY          )
AS CHAIRMAN OF THE INDIANA ALCOHOL &
TOBACCO COMMISSION,
      Defendant.
                                        ORDER

       Plaintiffs Lebamoff Enterprises, Inc. d/b/a Cap N’ Cork, Randy Lewandowski, and Luth-

er Stroder (“Cap ‘N Cork”) brought this action against P. Thomas Snow, in his official capacity

as Chairman of the Indiana Alcohol & Tobacco Commission (“ATC”), challenging the constitu-

tionality of Ind. Code § 7.1-3-15-3(d), which only allows wine dealers to make off-premises de-

liveries through one of its permitted employees. The parties filed cross-motions for summary

judgment, and the Court issued final judgment in favor of ATC. [Dkt. 46.] Presently before the

Court is Cap ‘N Cork’s Motion for Reconsideration. [Dkt. 47.]

                                            DISCUSSION

       Cap N’ Cork asks the Court to reconsider its order granting ATC summary judgment or,

alternatively, to stay the order pending appeal. [Dkt. 47 at 1-9, dkt. 45.]

       A) Reconsidering the Court’s Order

       A motion to reconsider is appropriate where the court has “misunderstood a party,”

“made a decision outside the adversarial issues presented,” “made an error of apprehension (not

of reasoning),” or “where a significant change in the law has occurred, or where significant new

facts have been discovered.” Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,


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1191 (7th Cir. 1990). A motion for reconsideration must do more than simply “rehash[] the me-

rits of the case based on the existing record.” Tokh v. Water Tower Court Home Owners Ass’n,

327 Fed.Appx. 630, 631 (2009).

       According to Cap N’ Cork, the Court should reconsider this case because it erroneously

employed the balancing test established in Pike v. Bruce Church, Inc., 397 U.S. 137 (1970),

failed to make all reasonable inferences in the light most favorable to Cap ‘N Cork, and contra-

vened the Supreme Court’s holding in Granholm v. Heald, 544 U.S. 460 (2005). Additionally,

Cap ‘N Cork presents several pending bills that have been introduced—that it contends bear on

the General Assembly’s intent in enacting § 7.1-3-15-3(d). [Dkt. 49-1-4.]

       First, Cap ‘N Cork argues that the Court inappropriately employed the Pike balancing in-

stead of strict scrutiny à la Granholm. It accuses the Court of failing to consider that a statute

with discriminatory effects—not merely one that is facially discriminatory—is also subject to

strict scrutiny analysis. [Dkt. 47 at 2-3.] String-citing to a list of out-of-circuit cases, Cap ‘N

Cork then argues that this law discriminates in practical effect and that the Court should there-

fore have analyzed it under strict scrutiny.

       Cap N’ Cork, however, has failed to recognize the law of this circuit, which the court dis-

cussed and applied in its ruling. As the Court previously stated, “Whether strict scrutiny is a

proper analytical tool in this context rests principally on whether a law directs alcohol produced

out-of-state to be treated differently than that produced in-state.” [Dkt. 45 at 11, citing to Gran-

holm, 544 U.S. at 498.] Cap ‘N Cork has made no showing at any point during this litigation

that the statute at issue is discriminatory—either on its face or in its effect. Indeed, as the Court

has already explained in detail, this statute does not escape strict scrutiny merely because it is

“not facially discriminatory;” rather, it is subject to Pike because it “regulates even-handedly.”



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[Dkt. 45 at 11, citing to Pike, 397 U.S. at 142.] The Court will not consider Cap ‘N Cork’s re-

hashing of an argument that failed the first time around. Tokh v. Water Tower Court Home Own-

ers, 327 Fed.Appx. at 631.

       Second, Cap ‘N Cork argues that when reviewing ATC’s motion, the Court did not con-

strue the facts in the light most favorable to Cap ‘N Cork. [Dkt. 47 at 5.] Specifically, Cap ‘N

Cork claims that “its evidence showed that banning common carrier deliveries has a substantial

adverse impact on interstate commerce by decreasing selection, raising prices, closing market

access to many small wineries, and halting $1.5 million in annual wine sales to Cap ‘N Cork.”

[Id.] Likewise, Cap ‘N Cork claims to have provided evidence that “the rule did little to advance

the state’s purpose of preventing youth access because minors rarely try to order wine for home

delivery in the first place, other states that allow such deliveries have reported few or no prob-

lems, and UPS checks IDs in a face-to-face transaction upon delivery.” [Id.] The affidavits

ATC offers pale by contrast, Cap ‘N Cork argues.

       As Cap ‘N Cork correctly states (as did the Court in its order, [dkt. 45 at 2]), on cross-

motions for summary judgment, the Court is required to evaluate cross-motions independently

and to “construe all facts and reasonable inferences in favor of the nonmoving party” in each in-

stance. Singer v. Raemisch, 593 F.3d 529, 533 (7th Cir. 2010). In reviewing the record, howev-

er, the Court gave Cap ‘N Cork more weight than its scant and unorganized presentation war-

ranted. Cap ‘N Cork did not submit a single piece of evidence to support its claim that this law

would have the effect of “closing the market to small wineries,” or of “halting the . . . wine

sales” to Cap ‘N Cork. Cap ‘N Cork simply established that it doesn’t want to spend the money

to personally deliver wine – in the requisite face-to-face manner – outside the vicinity of its cur-

rent retail locations. It hasn’t introduced any evidence that small or large wineries won’t be able



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to deliver to Indiana consumers, or that any consumer has been unable to receive the wine they

want delivered. Despite the Court’s favorable inferences, Cap ‘N Cork’s inconsequential show-

ings, coupled only with two national reports that do not address § 7.1-3-15-3(d) whatsoever, are

not enough to show that this law in fact discriminated against out-of-state entities, let alone that

it is unconstitutional. The affidavits offered by ATC, on the other hand, provide direct evidence

that the face-to-face delivery requirement effectuates a legitimate local interest (and, as the Court

stated in its order, ATC was not required to show that § 7.1-3-15-3(d) is flawless). [Dkt. 45 at

18, citing to dkt. 28-1 at 2-3.] See also Baude, 538 F.3d at 613. As the Court made clear, “the

Court’s favor toward the non-moving party does not extend to drawing inferences that are sup-

ported by only speculation or conjecture.” Singer, 593 F.3d at 533. Cap N’ Cork’s failure to

come forth with admissible evidence at the summary judgment stage was fatal, and the Court

will not reconsider its order simply because Cap ‘N Cork thinks its bare allegations should be

given more weight. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

       Additionally, Cap ‘N Cork argues that the Court “evaluated important evidence inconsis-

tently with the Supreme Court and Seventh Circuit precedent.” [Dkt. 45 at7.] Specifically, it

argues, that in undertaking Pike balancing, the Court should not have considered the mere “con-

clusory statements” of the excise officers as evidence of the putative local benefit the face-to-

face requirement of § 7.1-3-15-3(d) requires. [Dkt. 47 at 8.] Citing to Baude v.Heath, 538 F.3d

608, 612 (7th Cir. 2010), Cap ‘N Cork argues that ATC’s “bald assertions” are not enough to

overcome Cap ‘N Cork’s motion for summary judgment. [Id.]

       In making this argument, however, Cap ‘N Cork undermines its own understanding of the

case to which it cites: The Baude court clearly held that “keeping alcohol out of minors’ hands is

a legitimate, indeed a powerful, interest.” [Dkt. 45 at 17, citing to 538 F.3d at 613.] Likewise,



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the Baude court also made explicit, “when challenging a law that treats in-state and out-of-state

entities identically, whoever wants to upset the law bears the[] burden” of showing that the law is

unconstitutional.” 538 at 613. Moreover, just as when reviewing ATC’s motion, the Court made

all reasonable inferences for Cap ‘N Cork, when reviewing Cap ‘N Cork’s motion, the Court re-

viewed the evidence in the light most favorable to ACT. Singer, 593 F.3d at 533. Because Cap

‘N Cork failed to come forth with sufficient evidence to support its claim of unconstitutionality,

the Court will not reconsider granting ATC’s motion.

       Cap N’ Cork further argues that “the [C]ourt’s conclusion that banning direct shipping1

significantly reduces youth access is not only unsupported by evidence, it is inconsistent with the

Supreme Court’s holding in Granholm[]” because that case took into consideration the national

reports that Cap ‘N Cork submitted as evidence. [Dkt. 47 at 8.]

       The Court, however, acknowledged the existence of these reports in considering the po-

tential burden imposed by § 7.1-3-15-3(d) but found them ultimately irrelevant because neither

of these reports address the specific circumstances in Indiana. [Dkt. 45 at 20-21.] Furthermore,

although the Court credited Granholm for galvanizing the constitutionality of the three-tier sys-

tem, [id. at 10], it did not rely exclusively on Granholm because that case is easily distinguished

from this one for the reasons previously stated. [Id. at 9-10.]

       Moreover, despite Cap ‘N Cork’s unsupported contention that Baude was “a different

case that involved an entirely different record and different issue,” [dkt. 47 at 6], this Court


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  The Court once more reminds Cap ‘N Cork that a general ban on direct shipment is not at issue
in this litigation. Cap N’ Cork has not challenged Indiana Code § 7.1-5-11-1.5(a), which gener-
ally bans the direct shipment of all alcoholic beverages directly to Indiana consumers unless a
permittee holds a direct wine seller’s permit issued pursuant to Indiana Code § 7.1-3-26—a per-
mit which no wine retailer, or any other alcoholic beverage retailer or dealer is eligible to hold.
[Dkt. 45 at 6, citing to Ind. Code § 7.1-5-11-1.5(a).] Cap ‘N Cork’s consistent reference to this
law as “banning direct shipment” is incorrect.

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maintains that the issue the Seventh Circuit confronted in Baude is analogous to this one. [Id.,

(citing to 538 F.3d at 476).] As the Court noted in its order, Baude addressed a statute which re-

quired face-to-face age verification by any winery holding a direct wine shipper’s permit (inside

or outside Indiana); the challenged statute applied equally to all buyers; and the plaintiff asserted

that a face-to-face requirement on sellers was a undue burden on interstate commerce that was

not outweighed by the local interest in reducing access to alcoholic beverages by minors. [Id. at

15, (citing to Baude, 538 F.3d at 611).] Because Baude and the case at bar are analogous—and

to the extent that they differ, the Baude statute created an even greater burden on interstate com-

merce—this Court’s reliance on Baude’s authority was proper and does not warrant reconsidera-

tion.

        Finally, in an addendum to its motion to reconsider, Cap ‘N Cork introduces for the first

time House Bills 1080-1081 and Senate Bill 133, any of which could modify the language of the

existing wine statutes, but none of which has actually been passed by the legislature. Cap ‘N

Cork offers these bills to “at a minimum cast new doubt on the [ATC]’s claim that prohibiting

common carrier deliveries through the fulfillment process is necessary to advance its interest in

restricting youth access.” [Dkt. 52 at 2.]

        Cap ‘N Cork makes no showing, however, that any of the draft provisions would even-

tually affect Ind. Code § 7.1-3-15-3(d). Moreover, based on the test properly employed by the

Court, ATC’s burden is not to show that the license requirement is “necessary to advance its in-

terest”—rather, it is Cap ‘N Cork’s burden to show that the law at issue does not “effectuate a

legitimate local public interest” or that the “burden imposed on such commerce is clearly exces-

sive in relation to the putative local benefits.” Pike, 397 U.S. at 142. Moreover, the Supreme

Court has made clear that “the task of analyzing a proposed statute . . . before the statute is put



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into effect is rarely if ever an appropriate task for the judiciary.” Younger v. Harris, 405 U.S. 37,

52 (U.S. 1971). None of the legislation Cap ‘N Cork offers, all of which is subject to change,

and none of which is currently law, is relevant to the Court’s decision in this case.

       Because Cap ‘N Cork has made no showing that the Court misunderstood a party, made a

decision outside the adversarial issues presented to the court by the parties, made an error of ap-

prehension, or that significant change of law or fact has occurred, its motion for reconsideration

is properly denied. Bank of Waunakee, 906 F.2 at 1191.

       B) Staying the Order Pending Appeal

       A motion to stay a district court ruling pending appeal “is a request for extraordinary re-

lief.” Chan v. Wodnicki, 67 F.3d 137, 139 (7th Cir. 1995); see also Hinrichs v. Bosma, 410

F.Supp. 2d 745, 748-49 (S.D. Ind. 2006) (“a stay is considered extraordinary relief for which the

moving party bears a ‘heavy burden’”). Under Fed. R. Civ. P. 62(c) and Fed. R. App. P. 8(a),

such extraordinary relief is appropriate only where a movant demonstrates the propriety of a stay

according to the balance of four factors: (1) the movant’s likelihood of success on the merits; (2)

the likelihood of irreparable injury to the movant absent a stay; (3) whether a stay will substan-

tially injure other parties to the litigation; and (4) “where the public interest lies.” Glick v. Koe-

nig, 766 F.2d 265, 269 (7th Cir.1985).

       Cap N’ Cork requests a stay pending appeal or pending the potential passage of the pend-

ing litigation in a single paragraph, without so much as a nod to the standard for obtaining a stay.

[Dkt. 47 at 9.] In furtherance of their request, Cap ‘N Cork merely argues that “hundreds of In-

diana consumers . . . will be affected by the ultimate decision.” [Id.] Although this scant argu-

ment is supplemented by proposed legislation that is currently under consideration, it has

done no more to show how—even if these bills are passed as written—this would alleviate any

“irreparable injury” that Cap ‘N Cork would face while the legislation is pending. Without giv-
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ing this Court any reason to believe it will be likely to succeed on appeal, that it will be injured

absent a stay, that other parties to the litigation will not be similarly injured, or that the public

interest lies in the stay, it fails to meet any of the four required showings—much less all of them.

Glick, 766 F.2d at 269.

       The Court therefore finds that Cap ‘N Cork has wholly failed to make the requisite show-

ing to justify a stay pending appeal.

                                            CONCLUSION

       For the going reasons the Court DENIES Cap ‘N Cork’s motion for reconsideration and

its request for a stay pending appeal. [Dkt. 47.]



         02/09/2011                                 _______________________________

                                                      Hon. Jane Magnus-Stinson, Judge
                                                      United States District Court
                                                      Southern District of Indiana


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